Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 1 of 30




                     EXHIBIT 1
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 2 of 30


GO O GLE PR IVACY PO LICY




When you use our services, you’re trusting us with your
information. We understand this is a big responsibility and
work hard to protect your information and put you in
control.

T his Privacy Policy is meant t o help you underst and what informat ion we collect , why we collect it ,
and how you can updat e, manage, export , and delet e your informat ion.


Effect ive March 31, 2020

Archived versions




We build a range of services t hat help millions of people daily t o explore and int eract wit h t he world in
new ways. Our services include:


     Google apps, sit es, and devices, like Search, YouTube, and Google Home


     Plat forms like t he Chrome browser and Android operat ing syst em


     Product s t hat are int egrat ed int o t hird-part y apps and sit es, like ads and embedded Google
     Maps


You can use our services in a variet y of ways t o manage your privacy. For example, you can sign up for
a Google Account if you want t o creat e and manage cont ent like emails and phot os, or see more
relevant search result s. And you can use many Google services when you’re signed out or wit hout
creat ing an account at all, like searching on Google or wat ching YouTube videos. You can also choose
t o browse t he web privat ely using Chrome in Incognit o mode. And across our services, you can adjust
your privacy set t ings t o cont rol what we collect and how your informat ion is used.


To help explain t hings as clearly as possible, we’ve added examples, explanat ory videos, and
definit ions for key t erms. And if you have any quest ions about t his Privacy Policy, you can cont act us.




INFO R MAT IO N GO O GLE CO LLECT S
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 3 of 30


We want you to understand the types of information we
collect as you use our services

We collect informat ion t o provide bet t er services t o all our users — from figuring out basic st uff like
which language you speak, t o more complex t hings like which ads you’ll find most useful, t he people
who mat t er most t o you online, or which YouTube videos you might like. T he informat ion Google
collect s, and how t hat informat ion is used, depends on how you use our services and how you
manage your privacy cont rols.


When you’re not signed in t o a Google Account , we st ore t he informat ion we collect wit h unique
ident ifiers t ied t o t he browser, applicat ion, or device you’re using. T his helps us do t hings like
maint ain your language preferences across browsing sessions.


When you’re signed in, we also collect informat ion t hat we st ore wit h your Google Account , which we
t reat as personal informat ion.




Things you create or provide to us

When you creat e a Google Account , you provide us wit h personal informat ion t hat includes your name
and a password. You can also choose t o add a phone number or payment informat ion t o your
account . Even if you aren’t signed in t o a Google Account , you might choose t o provide us wit h
informat ion — like an email address t o receive updat es about our services.


We also collect t he cont ent you creat e, upload, or receive from ot hers when using our services. T his
includes t hings like email you writ e and receive, phot os and videos you save, docs and spreadsheet s
you creat e, and comment s you make on YouTube videos.




Information we collect as you use our services

Your apps, browsers & devices


We collect informat ion about t he apps, browsers, and devices you use t o access Google services,
which helps us provide feat ures like aut omat ic product updat es and dimming your screen if your
bat t ery runs low.
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 4 of 30

T he informat ion we collect includes unique ident ifiers, browser t ype and set t ings, device t ype and
set t ings, operat ing syst em, mobile net work informat ion including carrier name and phone number,
and applicat ion version number. We also collect informat ion about t he int eract ion of your apps,
browsers, and devices wit h our services, including IP address, crash report s, syst em act ivit y, and t he
dat e, t ime, and referrer URL of your request .


We collect t his informat ion when a Google service on your device cont act s our servers — for example,
when you inst all an app from t he Play St ore or when a service checks for aut omat ic updat es. If you’re
using an Android device wit h Google apps, your device periodically cont act s Google servers t o provide
informat ion about your device and connect ion t o our services. T his informat ion includes t hings like
your device t ype, carrier name, crash report s, and which apps you've inst alled.




Your activity

We collect informat ion about your act ivit y in our services, which we use t o do t hings like recommend
a YouTube video you might like. T he act ivit y informat ion we collect may include:


     Terms you search for


     Videos you wat ch


     Views and int eract ions wit h cont ent and ads


     Voice and audio informat ion when you use audio feat ures


     Purchase act ivit y


     People wit h whom you communicat e or share cont ent


     Act ivit y on t hird-part y sit es and apps t hat use our services


     Chrome browsing hist ory you’ve synced wit h your Google Account


If you use our services t o make and receive calls or send and receive messages, we may collect
t elephony log informat ion like your phone number, calling-part y number, receiving-part y number,
forwarding numbers, t ime and dat e of calls and messages, durat ion of calls, rout ing informat ion, and
t ypes of calls.


You can visit your Google Account t o find and manage act ivit y informat ion t hat ’s saved in your
account .
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 5 of 30


             Go t o Google Account




Your location information

We collect informat ion about your locat ion when you use our services, which helps us offer feat ures
like driving direct ions for your weekend get away or showt imes for movies playing near you.


Your locat ion can be det ermined wit h varying degrees of accuracy by:


     GPS


     IP address


     Sensor dat a from your device


     Informat ion about t hings near your device, such as Wi-Fi access point s, cell t owers, and
     Bluet oot h-enabled devices


T he t ypes of locat ion dat a we collect depend in part on your device and account set t ings. For
example, you can t urn your Android device’s locat ion on or off using t he device’s set t ings app. You can
also t urn on Locat ion Hist ory if you want t o creat e a privat e map of where you go wit h your signed-in
devices.




In some circumst ances, Google also collect s informat ion about you from publicly accessible sources.
For example, if your name appears in your local newspaper, Google’s Search engine may index t hat
art icle and display it t o ot her people if t hey search for your name. We may also collect informat ion
about you from t rust ed part ners, including market ing part ners who provide us wit h informat ion about
pot ent ial cust omers of our business services, and securit y part ners who provide us wit h informat ion
t o prot ect against abuse. We also receive informat ion from advert isers t o provide advert ising and
research services on t heir behalf.


We use various t echnologies t o collect and st ore informat ion, including cookies, pixel t ags, local
st orage, such as browser web st orage or applicat ion dat a caches, dat abases, and server logs.




W HY GO O GLE CO LLECT S DAT A
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 6 of 30


We use data to build be er services

We use t he informat ion we collect from all our services for t he following purposes:




Provide our services


We use your informat ion t o deliver our services, like processing t he t erms you search for in order t o
ret urn result s or helping you share cont ent by suggest ing recipient s from your cont act s.




Maintain & improve our services


We also use your informat ion t o ensure our services are working as int ended, such as t racking
out ages or t roubleshoot ing issues t hat you report t o us. And we use your informat ion t o make
improvement s t o our services — for example, underst anding which search t erms are most frequent ly
misspelled helps us improve spell-check feat ures used across our services.




Develop new services


We use t he informat ion we collect in exist ing services t o help us develop new ones. For example,
underst anding how people organized t heir phot os in Picasa, Google’s first phot os app, helped us
design and launch Google Phot os.




Provide personalized services, including content and ads

We use t he informat ion we collect t o cust omize our services for you, including providing
recommendat ions, personalized cont ent , and cust omized search result s. For example, Securit y
Checkup provides securit y t ips adapt ed t o how you use Google product s. And Google Play uses
informat ion like apps you’ve already inst alled and videos you’ve wat ched on YouTube t o suggest new
apps you might like.


Depending on your set t ings, we may also show you personalized ads based on your int erest s. For
example, if you search for “mount ain bikes,” you may see an ad for sport s equipment when you’re
browsing a sit e t hat shows ads served by Google. You can cont rol what informat ion we use t o show
you ads by visit ing your ad set t ings.
             Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 7 of 30

     We don’t show you personalized ads based on sensit ive cat egories, such as race, religion, sexual
     orient at ion, or healt h.


     We don’t share informat ion t hat personally ident ifies you wit h advert isers, such as your name or
     email, unless you ask us t o. For example, if you see an ad for a nearby flower shop and select t he
     “t ap t o call” but t on, we’ll connect your call and may share your phone number wit h t he flower
     shop.




              Go t o Ad Set t ings




Measure pe ormance

We use dat a for analyt ics and measurement t o underst and how our services are used. For example,
we analyze dat a about your visit s t o our sit es t o do t hings like opt imize product design. And we also
use dat a about t he ads you int eract wit h t o help advert isers underst and t he performance of t heir ad
campaigns. We use a variet y of t ools t o do t his, including Google Analyt ics. When you visit sit es t hat
use Google Analyt ics, Google and a Google Analyt ics cust omer may link informat ion about your
act ivit y from t hat sit e wit h act ivit y from ot her sit es t hat use our ad services.




Communicate with you

We use informat ion we collect , like your email address, t o int eract wit h you direct ly. For example, we
may send you a not ificat ion if we det ect suspicious act ivit y, like an at t empt t o sign in t o your Google
Account from an unusual locat ion. Or we may let you know about upcoming changes or
improvement s t o our services. And if you cont act Google, we’ll keep a record of your request in order
t o help solve any issues you might be facing.




Protect Google, our users, and the public

We use informat ion t o help improve t he safet y and reliabilit y of our services. T his includes det ect ing,
prevent ing, and responding t o fraud, abuse, securit y risks, and t echnical issues t hat could harm
Google, our users, or t he public.
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 8 of 30

We use different t echnologies t o process your informat ion for t hese purposes. We use aut omat ed
syst ems t hat analyze your cont ent t o provide you wit h t hings like cust omized search result s,
personalized ads, or ot her feat ures t ailored t o how you use our services. And we analyze your
cont ent t o help us det ect abuse such as spam, malware, and illegal cont ent . We also use algorit hms
t o recognize pat t erns in dat a. For example, Google Translat e helps people communicat e across
languages by det ect ing common language pat t erns in phrases you ask it t o t ranslat e.


We may combine t he informat ion we collect among our services and across your devices for t he
purposes described above. For example, if you wat ch videos of guit ar players on YouTube, you might
see an ad for guit ar lessons on a sit e t hat uses our ad product s. Depending on your account set t ings,
your act ivit y on ot her sit es and apps may be associat ed wit h your personal informat ion in order t o
improve Google’s services and t he ads delivered by Google.


If ot her users already have your email address or ot her informat ion t hat ident ifies you, we may show
t hem your publicly visible Google Account informat ion, such as your name and phot o. T his helps
people ident ify an email coming from you, for example.


We’ll ask for your consent before using your informat ion for a purpose t hat isn’t covered in t his
Privacy Policy.




YO UR PR IVACY CO NT R O LS




You have choices regarding the information we collect and
how it's used

T his sect ion describes key cont rols for managing your privacy across our services. You can also visit
t he Privacy Checkup, which provides an opport unit y t o review and adjust import ant privacy set t ings.
In addit ion t o t hese t ools, we also offer specific privacy set t ings in our product s — you can learn
more in our Product Privacy Guide.




             Go t o Privacy Checkup




Managing, reviewing, and updating your information
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 9 of 30

When you’re signed in, you can always review and updat e informat ion by visit ing t he services you use.
For example, Phot os and Drive are bot h designed t o help you manage specific t ypes of cont ent you’ve
saved wit h Google.


We also built a place for you t o review and cont rol informat ion saved in your Google Account . Your
Google Account includes:




Privacy controls


            Activity Controls

            Decide what t ypes of act ivit y you’d like saved in your account . For example, you can t urn
            on Locat ion Hist ory if you want t raffic predict ions for your daily commut e, or you can
            save your YouTube Wat ch Hist ory t o get bet t er video suggest ions.

            Go t o Act ivit y Cont rols




            Ad se ings

            Manage your preferences about t he ads shown t o you on Google and on sit es and apps
            t hat part ner wit h Google t o show ads. You can modify your int erest s, choose whet her
            your personal informat ion is used t o make ads more relevant t o you, and t urn on or off
            cert ain advert ising services.

            Go t o Ad Set t ings




            About you

            Cont rol what ot hers see about you across Google services.

            Go t o About You




            Shared endorsements

            Choose whet her your name and phot o appear next t o your act ivit y, like reviews and
            recommendat ions, t hat appear in ads.

            Go t o Shared Endorsement s




            Information you share
             Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 10 of 30
              If you’re a G Suit e user, cont rol whom you share informat ion wit h t hrough your account on
              Google+.

              Go t o Informat ion You Share




Ways to review & update your information


              My Activity

              My Act ivit y allows you t o review and cont rol dat a t hat ’s creat ed when you use Google
              services, like searches you’ve done or your visit s t o Google Play. You can browse by dat e
              and by t opic, and delet e part or all of your act ivit y.

              Go t o My Act ivit y




              Google Dashboard

              Google Dashboard allows you t o manage informat ion associat ed wit h specific product s.

              Go t o Dashboard




              Your personal information

              Manage your cont act informat ion, such as your name, email, and phone number.

              Go t o Personal Info




When you’re signed out , you can manage informat ion associat ed wit h your browser or device,
including:


     Signed-out search personalizat ion: Choose whet her your search act ivit y is used t o offer you
     more relevant result s and recommendat ions.


     YouTube set t ings: Pause and delet e your YouTube Search Hist ory and your YouTube Wat ch
     Hist ory.


     Ad Set t ings: Manage your preferences about t he ads shown t o you on Google and on sit es and
     apps t hat part ner wit h Google t o show ads.
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 11 of 30




Expo ing, removing & deleting your information
You can export a copy of cont ent in your Google Account if you want t o back it up or use it wit h a
service out side of Google.




             Export your dat a




You can also request t o remove cont ent from specific Google services based on applicable law.


To delet e your informat ion, you can:


     Delet e your cont ent from specific Google services


     Search for and t hen delet e specific it ems from your account using My Act ivit y


     Delet e specific Google product s, including your informat ion associat ed wit h t hose product s


     Delet e your ent ire Google Account




             Delet e your informat ion




And finally, Inact ive Account Manager allows you t o give someone else access t o part s of your Google
Account in case you’re unexpect edly unable t o use your account .




T here are ot her ways t o cont rol t he informat ion Google collect s whet her or not you’re signed in t o a
Google Account , including:


     Browser set t ings: For example, you can configure your browser t o indicat e when Google has set
     a cookie in your browser. You can also configure your browser t o block all cookies from a specific
     domain or all domains. But remember t hat our services rely on cookies t o funct ion properly, for
     t hings like remembering your language preferences.
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 12 of 30

     Device-level set t ings: Your device may have cont rols t hat det ermine what informat ion we
     collect . For example, you can modify locat ion set t ings on your Android device.




S HAR ING YO UR INFO R MAT IO N




When you share your information
Many of our services let you share informat ion wit h ot her people, and you have cont rol over how you
share. For example, you can share videos on YouTube publicly or you can decide t o keep your videos
privat e. Remember, when you share informat ion publicly, your cont ent may become accessible
t hrough search engines, including Google Search.


When you’re signed in and int eract wit h some Google services, like leaving comment s on a YouTube
video or reviewing an app in Play, your name and phot o appear next t o your act ivit y. We may also
display t his informat ion in ads depending on your Shared endorsement s set t ing.




When Google shares your information
We do not share your personal informat ion wit h companies, organizat ions, or individuals out side of
Google except in t he following cases:




With your consent

We’ll share personal informat ion out side of Google when we have your consent . For example, if you
use Google Home t o make a reservat ion t hrough a booking service, we’ll get your permission before
sharing your name or phone number wit h t he rest aurant . We’ll ask for your explicit consent t o share
any sensit ive personal informat ion.




With domain administrators

If you’re a st udent or work for an organizat ion t hat uses Google services (like G Suit e), your domain
administ rat or and resellers who manage your account will have access t o your Google Account . T hey
may be able t o:


     Access and ret ain informat ion st ored in your account , like your email
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 13 of 30

     View st at ist ics regarding your account , like how many apps you inst all


     Change your account password


     Suspend or t erminat e your account access


     Receive your account informat ion in order t o sat isfy applicable law, regulat ion, legal process, or
     enforceable government al request


     Rest rict your abilit y t o delet e or edit your informat ion or your privacy set t ings




For external processing

We provide personal informat ion t o our affiliat es and ot her t rust ed businesses or persons t o process
it for us, based on our inst ruct ions and in compliance wit h our Privacy Policy and any ot her
appropriat e confident ialit y and securit y measures. For example, we use service providers t o help us
wit h cust omer support .




For legal reasons

We will share personal informat ion out side of Google if we have a good-fait h belief t hat access, use,
preservat ion, or disclosure of t he informat ion is reasonably necessary t o:


     Meet any applicable law, regulat ion, legal process, or enforceable government al request . We
     share informat ion about t he number and t ype of request s we receive from government s in our
     Transparency Report .


     Enforce applicable Terms of Service, including invest igat ion of pot ent ial violat ions.


     Det ect , prevent , or ot herwise address fraud, securit y, or t echnical issues.


     Prot ect against harm t o t he right s, propert y or safet y of Google, our users, or t he public as
     required or permit t ed by law.


We may share non-personally ident ifiable informat ion publicly and wit h our part ners — like publishers,
advert isers, developers, or right s holders. For example, we share informat ion publicly t o show t rends
about t he general use of our services. We also allow specific part ners t o collect informat ion from
your browser or device for advert ising and measurement purposes using t heir own cookies or similar
t echnologies.
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 14 of 30

If Google is involved in a merger, acquisit ion, or sale of asset s, we’ll cont inue t o ensure t he
confident ialit y of your personal informat ion and give affect ed users not ice before personal
informat ion is t ransferred or becomes subject t o a different privacy policy.




KEEPING YO UR INFO R MAT IO N S ECUR E




We build security into our services to protect your
information

All Google product s are built wit h st rong securit y feat ures t hat cont inuously prot ect your
informat ion. T he insight s we gain from maint aining our services help us det ect and aut omat ically
block securit y t hreat s from ever reaching you. And if we do det ect somet hing risky t hat we t hink you
should know about , we’ll not ify you and help guide you t hrough st eps t o st ay bet t er prot ect ed.


We work hard t o prot ect you and Google from unaut horized access, alt erat ion, disclosure, or
dest ruct ion of informat ion we hold, including:


     We use encrypt ion t o keep your dat a privat e while in t ransit


     We offer a range of securit y feat ures, like Safe Browsing, Securit y Checkup, and 2 St ep
     Verificat ion t o help you prot ect your account


     We review our informat ion collect ion, st orage, and processing pract ices, including physical
     securit y measures, t o prevent unaut horized access t o our syst ems


     We rest rict access t o personal informat ion t o Google employees, cont ract ors, and agent s who
     need t hat informat ion in order t o process it . Anyone wit h t his access is subject t o st rict
     cont ract ual confident ialit y obligat ions and may be disciplined or t erminat ed if t hey fail t o meet
     t hese obligat ions.




EX PO R T ING & DELET ING YO UR INFO R MAT IO N




You can expo a copy of your information or delete it from
your Google Account at any time

You can export a copy of cont ent in your Google Account if you want t o back it up or use it wit h a
service out side of Google.
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 15 of 30


             Export your dat a




To delet e your informat ion, you can:


     Delet e your cont ent from specific Google services


     Search for and t hen delet e specific it ems from your account using My Act ivit y


     Delet e specific Google product s, including your informat ion associat ed wit h t hose product s


     Delet e your ent ire Google Account




             Delet e your informat ion




R ET AINING YO UR INFO R MAT IO N



We ret ain t he dat a we collect for different periods of t ime depending on what it is, how we use it , and
how you configure your set t ings:


     Some dat a you can delet e whenever you like, such as t he cont ent you creat e or upload. You can
     also delet e act ivit y informat ion saved in your account , or choose t o have it delet ed
     aut omat ically aft er a set period of t ime.


     Ot her dat a is delet ed or anonymized aut omat ically aft er a set period of t ime, such as
     advert ising dat a in server logs.


     We keep some dat a unt il you delet e your Google Account , such as informat ion about how oft en
     you use our services.


     And some dat a we ret ain for longer periods of t ime when necessary for legit imat e business or
     legal purposes, such as securit y, fraud and abuse prevent ion, or financial record-keeping.


When you delet e dat a, we follow a delet ion process t o make sure t hat your dat a is safely and
complet ely removed from our servers or ret ained only in anonymized form. We t ry t o ensure t hat our
services prot ect informat ion from accident al or malicious delet ion. Because of t his, t here may be
delays bet ween when you delet e somet hing and when copies are delet ed from our act ive and backup
syst ems.
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 16 of 30

You can read more about Google’s dat a ret ent ion periods, including how long it t akes us t o delet e your
informat ion.




CO MPLIANCE & CO O PER AT IO N W IT H R EGULAT O R S



We regularly review t his Privacy Policy and make sure t hat we process your informat ion in ways t hat
comply wit h it .




Data transfers
We maint ain servers around t he world and your informat ion may be processed on servers locat ed
out side of t he count ry where you live. Dat a prot ect ion laws vary among count ries, wit h some
providing more prot ect ion t han ot hers. Regardless of where your informat ion is processed, we apply
t he same prot ect ions described in t his policy. We also comply wit h cert ain legal frameworks relat ing
t o t he t ransfer of dat a, such as t he EU-U.S. and Swiss-U.S. Privacy Shield Frameworks.


When we receive formal writ t en complaint s, we respond by cont act ing t he person who made t he
complaint . We work wit h t he appropriat e regulat ory aut horit ies, including local dat a prot ect ion
aut horit ies, t o resolve any complaint s regarding t he t ransfer of your dat a t hat we cannot resolve
wit h you direct ly.




California requirements
If t he California Consumer Privacy Act (CCPA) applies t o your informat ion, we provide t hese
disclosures and t he t ools described in t his policy so you can exercise your right s t o receive
informat ion about our dat a pract ices, as well as t o request access t o and delet ion of your
informat ion. T hese t ools allow you t o review, updat e and delet e your informat ion, as well as export
and download a copy of it . You can also read more about Google’s dat a ret ent ion periods, and t he
process we follow t o delet e your informat ion.


Google does not sell your personal informat ion. We only share your informat ion as described in t his
policy. Google processes your informat ion for t he purposes described in t his policy, which include
“business purposes” under t he CCPA. T hese purposes include:
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 17 of 30

     Prot ect ing against securit y t hreat s, abuse, and illegal act ivit y. Google uses and may disclose
     informat ion t o det ect , prevent and respond t o securit y incident s, and for prot ect ing against
     ot her malicious, decept ive, fraudulent , or illegal act ivit y. For example, t o prot ect our services,
     Google may receive or disclose informat ion about IP addresses t hat malicious act ors have
     compromised.


     Audit ing and measurement . Google uses informat ion for analyt ics and measurement t o
     underst and how our services are used, as well as t o fulfill obligat ions t o our part ners like
     publishers, advert isers, developers, or right s holders. We may disclose non-personally
     ident ifiable informat ion publicly and wit h t hese part ners, including for audit ing purposes.


     Maint aining our services. Google uses informat ion t o ensure our services are working as
     int ended, such as t racking out ages or t roubleshoot ing bugs and ot her issues t hat you report t o
     us.


     Research and development . Google uses informat ion t o improve our services and t o develop
     new product s, feat ures and t echnologies t hat benefit our users and t he public. For example, we
     use publicly available informat ion t o help t rain Google’s language models and build feat ures like
     Google Translat e.


     Use of service providers. Google shares informat ion wit h service providers t o perform services
     on our behalf, in compliance wit h our Privacy Policy and ot her appropriat e confident ialit y and
     securit y measures. For example, we may rely on service providers t o help provide cust omer
     support .


     Advert ising. Google processes informat ion, including online ident ifiers and informat ion about
     your int eract ions wit h advert isement s, t o provide advert ising. T his keeps many of our services
     freely available for users. You can cont rol what informat ion we use t o show you ads by visit ing
     your ad set t ings.


Google also uses informat ion t o sat isfy applicable laws or regulat ions, and discloses informat ion in
response t o legal process or enforceable government request s, including t o law enforcement . We
provide informat ion about t he number and t ype of request s we receive from government s in our
Transparency Report .


If you have addit ional quest ions or request s relat ed t o your right s under t he CCPA, you can cont act
Google.




AB O UT T HIS PO LICY
             Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 18 of 30


When this policy applies
T his Privacy Policy applies t o all of t he services offered by Google LLC and it s affiliat es, including
YouTube, Android, and services offered on t hird-part y sit es, such as advert ising services. T his
Privacy Policy doesn’t apply t o services t hat have separat e privacy policies t hat do not incorporat e
t his Privacy Policy.


T his Privacy Policy doesn’t apply t o:


     T he informat ion pract ices of ot her companies and organizat ions t hat advert ise our services


     Services offered by ot her companies or individuals, including product s or sit es t hat may include
     Google services, be displayed t o you in search result s, or be linked from our services




Changes to this policy
We change t his Privacy Policy from t ime t o t ime. We will not reduce your right s under t his Privacy
Policy wit hout your explicit consent . We always indicat e t he dat e t he last changes were published
and we offer access t o archived versions for your review. If changes are significant , we’ll provide a
more prominent not ice (including, for cert ain services, email not ificat ion of Privacy Policy changes).




R ELAT ED PR IVACY PR ACT ICES




Speci c Google services
T he following privacy not ices provide addit ional informat ion about some Google services:


     Chrome & t he Chrome Operat ing Syst em


     Play Books


     Payment s


     Fiber


     Google Fi


     G Suit e for Educat ion
              Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 19 of 30

     YouTube Kids


     Google Account s Managed wit h Family Link, for Children under 13 (or applicable age in your
     count ry)


     Voice and Audio Collect ion from Children’s Feat ures on t he Google Assist ant




Other useful resources
T he following links highlight useful resources for you t o learn more about our pract ices and privacy
set t ings.


     Your Google Account is home t o many of t he set t ings you can use t o manage your account


     Privacy Checkup guides you t hrough key privacy set t ings for your Google Account


     Google’s safet y cent er helps you learn more about our built -in securit y, privacy cont rols, and
     t ools t o help set digit al ground rules for your family online


     Privacy & Terms provides more cont ext regarding t his Privacy Policy and our Terms of Service


     Technologies includes more informat ion about :


               How Google uses cookies


               Technologies used for Advert ising


               How Google uses pat t ern recognit ion t o recognize t hings like faces in phot os


               How Google uses informat ion from sit es or apps t hat use our services




Key terms

A liates

An affiliat e is an ent it y t hat belongs t o t he Google group of companies, including t he following
companies t hat provide consumer services in t he EU: Google Ireland Limit ed, Google Commerce Lt d,
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 20 of 30
Google Payment Corp, and Google Dialer Inc. Learn more about t he companies providing business
services in t he EU.




Algorithm

A process or set of rules followed by a comput er in performing problem-solving operat ions.




Application data cache

An applicat ion dat a cache is a dat a reposit ory on a device. It can, for example, enable a web
applicat ion t o run wit hout an int ernet connect ion and improve t he performance of t he applicat ion by
enabling fast er loading of cont ent .




Browser web storage

Browser web st orage enables websit es t o st ore dat a in a browser on a device. When used in "local
st orage" mode, it enables dat a t o be st ored across sessions. T his makes dat a ret rievable even aft er
a browser has been closed and reopened. One t echnology t hat facilit at es web st orage is HT ML 5.




Cookies

A cookie is a small file cont aining a st ring of charact ers t hat is sent t o your comput er when you visit
a websit e. When you visit t he sit e again, t he cookie allows t hat sit e t o recognize your browser.
Cookies may st ore user preferences and ot her informat ion. You can configure your browser t o refuse
all cookies or t o indicat e when a cookie is being sent . However, some websit e feat ures or services
may not funct ion properly wit hout cookies. Learn more about how Google uses cookies and how
Google uses dat a, including cookies, when you use our part ners' sit es or apps.




Device

A device is a comput er t hat can be used t o access Google services. For example, deskt op comput ers,
t ablet s, smart speakers, and smart phones are all considered devices.




Google Account
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 21 of 30

You may access some of our services by signing up for a Google Account and providing us wit h some
personal informat ion (t ypically your name, email address, and a password). T his account informat ion
is used t o aut hent icat e you when you access Google services and prot ect your account from
unaut horized access by ot hers. You can edit or delet e your account at any t ime t hrough your Google
Account set t ings.




IP address

Every device connect ed t o t he Int ernet is assigned a number known as an Int ernet prot ocol (IP)
address. T hese numbers are usually assigned in geographic blocks. An IP address can oft en be used
t o ident ify t he locat ion from which a device is connect ing t o t he Int ernet .




Non-personally identi able information

T his is informat ion t hat is recorded about users so t hat it no longer reflect s or references an
individually-ident ifiable user.




Personal information

T his is informat ion t hat you provide t o us which personally ident ifies you, such as your name, email
address, or billing informat ion, or ot her dat a t hat can be reasonably linked t o such informat ion by
Google, such as informat ion we associat e wit h your Google Account .




Pixel tag

A pixel t ag is a t ype of t echnology placed on a websit e or wit hin t he body of an email for t he purpose
of t racking cert ain act ivit y, such as views of a websit e or when an email is opened. Pixel t ags are
oft en used in combinat ion wit h cookies.




Referrer URL

A Referrer URL (Uniform Resource Locat or) is informat ion t ransmit t ed t o a dest inat ion webpage by a
web browser, t ypically when you click a link t o t hat page. T he Referrer URL cont ains t he URL of t he
last webpage t he browser visit ed.
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 22 of 30



Sensitive personal information

T his is a part icular cat egory of personal informat ion relat ing t o t opics such as confident ial medical
fact s, racial or et hnic origins, polit ical or religious beliefs, or sexualit y.




Server logs

Like most websit es, our servers aut omat ically record t he page request s made when you visit our
sit es. T hese “server logs” t ypically include your web request , Int ernet Prot ocol address, browser t ype,
browser language, t he dat e and t ime of your request , and one or more cookies t hat may uniquely
ident ify your browser.


A t ypical log ent ry for a search for “cars” looks like t his:

123.45.67.89 - 25/Mar/2003 10:15:32 -
http://www.google.com/search?q=cars -
Firefox 1.0.7; Windows NT 5.1 -
740674ce2123e969



     123.45.67.89 is t he Int ernet Prot ocol address assigned t o t he user by t he user’s ISP. Depending
     on t he user’s service, a different address may be assigned t o t he user by t heir service provider
     each t ime t hey connect t o t he Int ernet .


     25/Mar/2003 10:15:32 is t he dat e and t ime of t he query.


     http://www.google.com/search?q=cars is t he request ed URL, including t he search query.


     Firefox 1.0.7; Windows NT 5.1 is t he browser and operat ing syst em being used.


     740674ce2123a969 is t he unique cookie ID assigned t o t his part icular comput er t he first t ime it
     visit ed Google. (Cookies can be delet ed by users. If t he user has delet ed t he cookie from t he
     comput er since t he last t ime t hey’ve visit ed Google, t hen it will be t he unique cookie ID assigned
     t o t heir device t he next t ime t hey visit Google from t hat part icular device).




Unique identi ers

A unique ident ifier is a st ring of charact ers t hat can be used t o uniquely ident ify a browser, app, or
device. Different ident ifiers vary in how permanent t hey are, whet her t hey can be reset by users, and
how t hey can be accessed.
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 23 of 30

Unique ident ifiers can be used for various purposes, including securit y and fraud det ect ion, syncing
services such as your email inbox, remembering your preferences, and providing personalized
advert ising. For example, unique ident ifiers st ored in cookies help sit es display cont ent in your
browser in your preferred language. You can configure your browser t o refuse all cookies or t o
indicat e when a cookie is being sent . Learn more about how Google uses cookies.


On ot her plat forms besides browsers, unique ident ifiers are used t o recognize a specific device or
app on t hat device. For example, a unique ident ifier such as t he Advert ising ID is used t o provide
relevant advert ising on Android devices, and can be managed in your device’s set t ings. Unique
ident ifiers may also be incorporat ed int o a device by it s manufact urer (somet imes called a
universally unique ID or UUID), such as t he IMEI-number of a mobile phone. For example, a device’s
unique ident ifier can be used t o cust omize our service t o your device or analyze device issues relat ed
t o our services.




ads you’ll nd most useful

For example, if you wat ch videos about baking on YouTube, you may see more ads t hat relat e t o
baking as you browse t he web. We also may use your IP address t o det ermine your approximat e
locat ion, so t hat we can serve you ads for a nearby pizza delivery service if you search for “pizza.”
Learn more about Google ads and why you may see part icular ads.




adve ising and research services on their behalf

For example, advert isers may upload dat a from t heir loyalt y-card programs so t hat t hey can bet t er
underst and t he performance of t heir ad campaigns. We only provide aggregat ed report s t o
advert isers t hat don’t reveal informat ion about individual people.




Android device with Google apps

Android devices wit h Google apps include devices sold by Google or one of our part ners and include
phones, cameras, vehicles, wearables, and t elevisions. T hese devices use Google Play Services and
ot her pre-inst alled apps t hat include services like Gmail, Maps, your phone’s camera and phone dialer,
t ext -t o-speech conversion, keyboard input , and securit y feat ures.




combine the information we collect
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 24 of 30

Some examples of how we combine t he informat ion we collect include:


     When you’re signed in t o your Google Account and search on Google, you can see search result s
     from t he public web, along wit h relevant informat ion from t he cont ent you have in ot her Google
     product s, like Gmail or Google Calendar. T his can include t hings like t he st at us of your upcoming
     flight s, rest aurant , and hot el reservat ions, or your phot os. Learn more


     If you have communicat ed wit h someone via Gmail and want t o add t hem t o a Google Doc or an
     event in Google Calendar, Google makes it easy t o do so by aut ocomplet ing t heir email address
     when you st art t o t ype in t heir name. T his feat ure makes it easier t o share t hings wit h people
     you know. Learn more


     T he Google app can use dat a t hat you have st ored in ot her Google product s t o show you
     personalized cont ent , depending on your set t ings. For example, if you have searches st ored in
     your Web & App Act ivit y, t he Google app can show you news art icles and ot her informat ion about
     your int erest s, like sport s scores, based your act ivit y. Learn more


     If you link your Google Account t o your Google Home, you can manage your informat ion and get
     t hings done t hrough t he Google Assist ant . For example, you can add event s t o your Google
     Calendar or get your schedule for t he day, ask for st at us updat es on your upcoming flight , or
     send informat ion like driving direct ions t o your phone. Learn more




customized search results

For example, when you’re signed in t o your Google Account and have t he Web & App Act ivit y cont rol
enabled, you can get more relevant search result s t hat are based on your previous searches and
act ivit y from ot her Google services. You can learn more here. You may also get cust omized search
result s even when you’re signed out . If you don’t want t his level of search cust omizat ion, you can
search and browse privat ely or t urn off signed-out search personalizat ion.




deliver our services

Examples of how we use your informat ion t o deliver our services include:


     We use t he IP address assigned t o your device t o send you t he dat a you request ed, such as
     loading a YouTube video


     We use unique ident ifiers st ored in cookies on your device t o help us aut hent icat e you as t he
     person who should have access t o your Google Account
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 25 of 30

     Phot os and videos you upload t o Google Phot os are used t o help you creat e albums, animat ions,
     and ot her creat ions t hat you can share. Learn more


     A flight confirmat ion email you receive may be used t o creat e a “check-in” but t on t hat appears
     in your Gmail


     When you purchase services or physical goods from us, you may provide us informat ion like your
     shipping address or delivery inst ruct ions. We use t his informat ion for t hings like processing,
     fulfilling, and delivering your order, and t o provide support in connect ion wit h t he product or
     service you purchase.




detect abuse

When we det ect spam, malware, illegal cont ent , and ot her forms of abuse on our syst ems in violat ion
of our policies, we may disable your account or t ake ot her appropriat e act ion. In cert ain
circumst ances, we may also report t he violat ion t o appropriat e aut horit ies.




devices

For example, we can use informat ion from your devices t o help you decide which device you’d like t o
use t o inst all an app or view a movie you buy from Google Play. We also use t his informat ion t o help
prot ect your account .




ensure and improve

For example, we analyze how people int eract wit h advert ising t o improve t he performance of our ads.




ensure our services are working as intended

For example, we cont inuously monit or our syst ems t o look for problems. And if we find somet hing
wrong wit h a specific feat ure, reviewing act ivit y informat ion collect ed before t he problem st art ed
allows us t o fix t hings more quickly.




Information about things near your device
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 26 of 30

If you use Google’s Locat ion services on Android, we can improve t he performance of apps t hat rely
on your locat ion, like Google Maps. If you use Google’s Locat ion services, your device sends
informat ion t o Google about it s locat ion, sensors (like acceleromet er), and nearby cell t owers and Wi-
Fi access point s (like MAC address and signal st rengt h). All t hese t hings help t o det ermine your
locat ion. You can use your device set t ings t o enable Google Locat ion services. Learn more




legal process, or enforceable governmental request

Like ot her t echnology and communicat ions companies, Google regularly receives request s from
government s and court s around t he world t o disclose user dat a. Respect for t he privacy and securit y
of dat a you st ore wit h Google underpins our approach t o complying wit h t hese legal request s. Our
legal t eam reviews each and every request , regardless of t ype, and we frequent ly push back when a
request appears t o be overly broad or doesn’t follow t he correct process. Learn more in our
Transparency Report .




make improvements

For example, we use cookies t o analyze how people int eract wit h our services. And t hat analysis can
help us build bet t er product s. For example, it may help us discover t hat it ’s t aking people t oo long t o
complet e a cert ain t ask or t hat t hey have t rouble finishing st eps at all. We can t hen redesign t hat
feat ure and improve t he product for everyone.




may link information

Google Analyt ics relies on first -part y cookies, which means t he cookies are set by t he Google
Analyt ics cust omer. Using our syst ems, dat a generat ed t hrough Google Analyt ics can be linked by t he
Google Analyt ics cust omer and by Google t o t hird-part y cookies t hat are relat ed t o visit s t o ot her
websit es. For example, an advert iser may want t o use it s Google Analyt ics dat a t o creat e more
relevant ads, or t o furt her analyze it s t raffic. Learn more




pa ner with Google

T here are over 2 million non-Google websit es and apps t hat part ner wit h Google t o show ads. Learn
more
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 27 of 30



payment information

For example, if you add a credit card or ot her payment met hod t o your Google Account , you can use it
t o buy t hings across our services, like apps in t he Play St ore. We may also ask for ot her informat ion,
like a business t ax ID, t o help process your payment . In some cases, we may also need t o verify your
ident it y and may ask you for informat ion t o do t his.


We may also use payment informat ion t o verify t hat you meet age requirement s, if, for example, you
ent er an incorrect birt hday indicat ing you’re not old enough t o have a Google Account . Learn more




personalized ads

You may also see personalized ads based on informat ion from t he advert iser. If you shopped on an
advert iser's websit e, for example, t hey can use t hat visit informat ion t o show you ads. Learn more




phone number

If you add your phone number t o your account , it can be used for different purposes across Google
services, depending on your set t ings. For example, your phone number can be used t o help you
access your account if you forget your password, help people find and connect wit h you, and make
t he ads you see more relevant t o you. Learn more




protect against abuse

For example, informat ion about securit y t hreat s can help us not ify you if we t hink your account has
been compromised (at which point we can help you t ake st eps t o prot ect your account ).




publicly accessible sources

For example, we may collect informat ion t hat ’s publicly available online or from ot her public sources
t o help t rain Google’s language models and build feat ures like Google Translat e.




rely on cookies to function properly
            Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 28 of 30

For example, we use a cookie called ‘lbcs’ t hat makes it possible for you t o open many Google Docs in
one browser. Blocking t his cookie would prevent Google Docs from working as expect ed. Learn more




safety and reliability

Some examples of how we use your informat ion t o help keep our services safe and reliable include:


     Collect ing and analyzing IP addresses and cookie dat a t o prot ect against aut omat ed abuse.
     T his abuse t akes many forms, such as sending spam t o Gmail users, st ealing money from
     advert isers by fraudulent ly clicking on ads, or censoring cont ent by launching a Dist ribut ed
     Denial of Service (DDoS) at t ack.


     T he “last account act ivit y” feat ure in Gmail can help you find out if and when someone accessed
     your email wit hout your knowledge. T his feat ure shows you informat ion about recent act ivit y in
     Gmail, such as t he IP addresses t hat accessed your mail, t he associat ed locat ion, and t he dat e
     and t ime of access. Learn more




sensitive categories

When showing you personalized ads, we use t opics t hat we t hink might be of int erest t o you based
on your act ivit y. For example, you may see ads for t hings like "Cooking and Recipes" or "Air Travel.” We
don’t use t opics or show personalized ads based on sensit ive cat egories like race, religion, sexual
orient at ion, or healt h. And we require t he same from advert isers t hat use our services.




Sensor data from your device

Your device may have sensors t hat can be used t o bet t er underst and your locat ion and movement .
For example, an acceleromet er can be used t o det ermine your speed and a gyroscope t o figure out
your direct ion of t ravel.




servers around the world

For example, we operat e dat a cent ers locat ed around t he world t o help keep our product s
cont inuously available for users.
          Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 29 of 30



services to make and receive calls or send and receive messages

Examples of t hese services include:


     Google Hangout s, for making domest ic and int ernat ional calls


     Google Voice, for making calls, sending t ext messages, and managing voicemail


     Google Fi, for a phone plan




show trends

When lot s of people st art searching for somet hing, it can provide useful informat ion about part icular
t rends at t hat t ime. Google Trends samples Google web searches t o est imat e t he popularit y of
searches over a cert ain period of t ime and shares t hose result s publicly in aggregat ed t erms. Learn
more




speci c Google services

For example, you can delet e your blog from Blogger or a Google Sit e you own from Google Sit es. You
can also delet e reviews you’ve left on apps, games, and ot her cont ent in t he Play St ore.




speci c pa ners

For example, we allow YouTube creat ors and advert isers t o work wit h measurement companies t o
learn about t he audience of t heir YouTube videos or ads, using cookies or similar t echnologies.
Anot her example is merchant s on our shopping pages, who use cookies t o underst and how many
different people see t heir product list ings. Learn more about t hese part ners and how t hey use your
informat ion.




synced with your Google Account

Your Chrome browsing hist ory is only saved t o your account if you’ve enabled Chrome
synchronizat ion wit h your Google Account . Learn more
           Case 4:20-cv-03664-YGR Document 87-2 Filed 11/18/20 Page 30 of 30



the people who ma er most to you online

For example, when you t ype an address in t he To, Cc, or Bcc field of an email you're composing, Gmail
will suggest addresses based on t he people you cont act most frequent ly.




third pa ies

For example, we process your informat ion t o report use st at ist ics t o right s holders about how t heir
cont ent was used in our services. We may also process your informat ion if people search for your
name and we display search result s for sit es cont aining publicly available informat ion about you.




Views and interactions with content and ads

For example, we collect informat ion about views and int eract ions wit h ads so we can provide
aggregat ed report s t o advert isers, like t elling t hem whet her we served t heir ad on a page and
whet her t he ad was likely seen by a viewer. We may also measure ot her int eract ions, such as how you
move your mouse over an ad or if you int eract wit h t he page on which t he ad appears.




your activity on other sites and apps

T his act ivit y might come from your use of Google services, like from syncing your account wit h
Chrome or your visit s t o sit es and apps t hat part ner wit h Google. Many websit es and apps part ner
wit h Google t o improve t heir cont ent and services. For example, a websit e might use our advert ising
services (like AdSense) or analyt ics t ools (like Google Analyt ics), or it might embed ot her cont ent
(such as videos from YouTube). T hese services may share informat ion about your act ivit y wit h
Google and, depending on your account set t ings and t he product s in use (for inst ance, when a
part ner uses Google Analyt ics in conjunct ion wit h our advert ising services), t his dat a may be
associat ed wit h your personal informat ion.


Learn more about how Google uses dat a when you use our part ners' sit es or apps.
